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The following constitutes the ruling of the court and has the force and effect therein described.



Signed December 29, 2020                                                     United States Bankruptcy Judge
______________________________________________________________________
                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

     In re:                              §                                      Case No. 19-32841-hdh11
                                         §
     DOUGHERTY’S HOLDINGS, INC., et al., §                                      Chapter 11
                                         §
             Debtors.                    §                                      (Jointly Administered)
                                         §


                       ORDER APPROVING APPLICATION FOR FINAL DECREE


              CAME ON FOR CONSIDERATION the Application for Final Decree (the "Application") filed

     on behalf of the Reorganized Debtors1 (as defined in the Motion) on October 2, 2020 [Dkt. No. 221].

     The Application seeks entry of a final decree and order closing the Reorganized Debtors' Chapter 11

     Cases. Having considered the Motion and all other evidence before it, the Court finds that (a) the

     Application was properly served pursuant to the Federal and Local Rules of Bankruptcy Procedure;

     (b) no party has filed or raised at hearing an objection to the Application; (c) that the Reorganized

     Debtors' estates are fully administered and that the Reorganized Debtors' Joint Chapter 11 Plan of



     1The Reorganized Debtors in these Chapter 11 cases, together with the last four digits of each of the Reorganized Debtors’
     federal tax identifications number, are as follows: Dougherty’s Holdings, Inc. (4393), Dougherty’s Pharmacy, Inc. [Texas]
     (3187), Dougherty’s Pharmacy Forest Park, LLC (6490); and Dougherty’s Pharmacy McAlester, LLC (1758).


     ORDER ENTERING FINAL DECREE AND CLOSING CASES                                                                   PAGE 1 OF 2
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Reorganization (the "Plan") has been fully consummated; and (d) good and sufficient cause exists for

granting the relief sought in the Application. Accordingly,

        IT IS HEREBY ORDERED THAT:

        1.       The Application is GRANTED as set forth herein:

        2.       The Reorganized Debtors' Chapter 11 Cases are hereby closed, effective December

28, 2020, without prejudice to reopening;

        3.       Notwithstanding the entry of any order in the case establishing deadlines for the

Litigation Trust to file objections to claims, if this Bankruptcy Case is subsequently reopened for the

Litigation Trust to review claims and administer assets for its beneficiaries, any prior deadline shall

not be applicable and the Court shall establish a new objection deadline for the Litigation Trust;

        4.       The Reorganized Debtors shall pay all fees due and owing to the United States Trustee

in accordance with 28 U.S.C. § 1930 and the Plan;

        5.       This Court retains jurisdiction to hear and resolve all matters related to the Application

and the relief sought therein, or matters otherwise related to the closing or reopening of the

Reorganized Debtors' Chapter 11 Cases, or the Reorganized Debtors' obligations to satisfy all

obligations due and owing to the United States Trustee in accordance with this order.


                                      ###END OF ORDER###




ORDER ENTERING FINAL DECREE AND CLOSING CASES                                                       PAGE 2 OF 2
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